  Case: 1:19-cv-04416 Document #: 549 Filed: 04/08/25 Page 1 of 1 PageID #:36071
   Case: 24-1071    Document: 00714543753          Filed: 04/08/2025   Pages: 1



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                    Office of the Clerk
        United States Courthouse
                                                                                   Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                   www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
March 17, 2025

                                                       Before
                                     MICHAEL B. BRENNAN, Circuit Judge
                                     MICHAEL Y. SCUDDER, Circuit Judge
                                     AMY J. ST. EVE, Circuit Judge

                                     LQD BUSINESS FINANCE, LLC,
                                              Plaintiff - Appellee

No. 24-1071                          v.

                                     AKF, INC., et al.,
                                                Defendants - Appellants
Originating Case Information:
District Court No: 1:19-cv-04416
Northern District of Illinois, Eastern Division
District Judge Matthew F. Kennelly


The judgment of the District Court is AFFIRMED, with costs, in accordance with the
decision of this court entered on this date.




                                                                          Clerk of Court

form name: c7_FinalJudgment        (form ID: 132)
